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NON-PRECEDENTIAL DECISION – SEE SUPERIOR COURT I.O.P. 65.37

HARFORD INSURANCE COMPANY         :          IN THE SUPERIOR COURT OF
A/S/O CLEAN AND POLISH BUILDING   :                PENNSYLVANIA
SOLUTIONS                         :
                                  :
                v.                :
                                  :
LILLY CAB CORPORATION, PINELANDS :
INSURANCE COMPANY, RRG,           :
INSURANCE OFFICE OF AMERICA,      :
SPECTRUM TRANSPORTATION           :
AGENCY, LLC, NTA ASSOCIATES, LLC, :
AND AMADOU KOUROUMA               :
                                  :
APPEAL OF: INSURANCE OFFICE OF    :                No. 632 EDA 2016
AMERICA AND SPECTRUM              :
TRANSPORTATION AGENCY, LLC        :


                   Appeal from the Order January 25, 2016,
            in the Court of Common Pleas of Philadelphia County
             Civil Division at No. 002947, November Term, 2015


BEFORE: FORD ELLIOTT, P.J.E., RANSOM, J. AND STEVENS, P.J.E.*


MEMORANDUM BY FORD ELLIOTT, P.J.E.:            FILED NOVEMBER 17, 2016

     Insurance Office of America (“IOA”) and Spectrum Transportation

Agency, LLC (“Spectrum”) (collectively, “appellants”), appeal from the order

entered January 25, 2016, granting appellee Harford Insurance Company

a/s/o Clean and Polish Building Solutions’ petition to enforce settlement and

ordering appellants to pay, jointly and severally, the settlement funds of

$5,000 together with interest at the rate of 3.25% from December 22, 2014,



* Former Justice specially assigned to the Superior Court.
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and $1,180 in attorneys’ fees.1 We vacate the order and remand for further

proceedings.

        According to the January 25, 2016 order, an agreement to settle this

case occurred on December 17, 2014.             On November 20, 2015, appellee

filed a praecipe for writ of summons together with a “Petition to Enforce

Settlement and for Sanctions for Non-Payment of Settlement Funds.”

Appellee’s petition was granted on January 25, 2016. On February 5, 2016,

the case was marked deferred, due to an order of liquidation for Pinelands

Insurance Company (“Pinelands”) from the Superior Court of the District of

Columbia.        On   February    17,   2016,   appellants     filed   a   motion   for

reconsideration of the January 25, 2016 order.            On February 19, 2016,

appellants filed a timely notice of appeal. On February 23, 2016, appellants

were ordered to file a concise statement of errors complained of on appeal

within 21 days pursuant to Pa.R.A.P. 1925(b), and they timely complied on

March 7, 2016.        On March 17, 2016, the trial court purported to grant

appellants’ motion for reconsideration, vacated its order of January 25,

2016, and ordered the case stayed due to the liquidation of Pinelands and

the accompanying administrative order (Administrative Docket No. 2 of

2015).      The trial court filed a Rule 1925(a) opinion on April 26, 2016.

Therein, the trial court characterizes the instant appeal as “moot” due to its




1
    Appellee has elected not to file a brief in this matter.


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March 17, 2016 order granting reconsideration.          (Trial court opinion,

4/26/16 at 2.)

      On appeal, appellants raise numerous issues, including that they were

never served with the writ of summons or the petition to enforce settlement.

According to appellants, they were never parties to any litigation involving

appellee. Therefore, appellants argue that the trial court had no jurisdiction

to enter the January 25, 2016 order. Appellants also observe that pursuant

to the administrative order of September 3, 2015, all matters in which

Pinelands was a named party and/or any matters against any insured of

Pinelands, were to be placed in deferred status until further notice.

(Appellants’ brief at 17.) As such, the November 20, 2015 writ of summons

and petition to enforce settlement should have been deferred.         (Id. at

17-18.)

      Initially, we must address the trial court’s March 17, 2016 order

granting appellants’ motion for reconsideration of the January 25, 2016

order. This was well beyond 30 days and after appellants had filed a notice

of appeal. Therefore, the trial court no longer had jurisdiction. 42 Pa.C.S.A.

§ 5505 (“a court upon notice to the parties may modify or rescind any order

within 30 days after its entry . . . if no appeal from such an order has been

taken or allowed.”); PNC Bank, N.A. v. Unknown Heirs, 929 A.2d 219,

226 (Pa.Super. 2007) (“Under section 5505, the trial court has broad

discretion to modify or rescind an order, and this power may be exercised



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sua sponte or invoked pursuant to a party’s motion for reconsideration.”

(citation omitted)); Pa.R.A.P. 1701 (tolling the time for taking an appeal only

when the court files “an order expressly granting reconsideration . . . within

the time prescribed by these rules for the filing of a notice of appeal.”). See

also   Stephens v. Messick, 799           A.2d 793, 800        (Pa.Super. 2002)

(“Rule 1701(b)(3) permits a trial court to reconsider an order that has been

appealed, but only if the trial court enters an order expressly granting

reconsideration within the time allowed for the taking of the appeal.”).

            Although the entry of a final order triggers the
            30-day appeal period, this period may be tolled if the
            trial    court   expressly     grants     a   motion    for
            reconsideration. Pa.R.A.P. 1701(b)(3). Generally,
            either the lapse of 30 days beyond the date of entry
            of an original order, or the filing of a notice of appeal
            will vitiate the jurisdiction of the trial court to modify,
            alter, or otherwise proceed further in the matter.
            Pa.R.A.P. 1701(a); In re Deed of Trust of
            McCargo, 438 Pa.Super. 570, 585, 652 A.2d 1330,
            1337 (1994), appeal denied, 543 Pa. 693, 670
            A.2d 141 (1995). Rule 1701, however, allows the
            trial court to view its order for up to thirty days,
            even after an appeal has been filed, if a party files a
            petition for reconsideration within the 30-day appeal
            period and the trial court files an order “expressly
            granting” reconsideration within the same period.
            Pa.R.A.P. 1701(b)(3)(i), (ii).

Valley Forge Center Associates v. Rib-It/K.P., Inc., 693 A.2d 242, 245

(Pa.Super. 1997).    “If a trial court fails to grant reconsideration expressly

within the prescribed 30 days, it loses the power to act upon both the

petition and the original order.” Id. (citations omitted).




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        Inasmuch as the trial court intended to grant reconsideration and

vacate its January 25, 2016 order, however, this court will remand for the

trial court to properly dispose of appellants’ motion. Appellants raise myriad

issues on appeal, including lack of personal jurisdiction.    We also observe

that this matter is in deferred status due to Pinelands’ liquidation.

Therefore, we will remand for the trial court to consider appellants’

arguments and issue whatever order it deems appropriate.

        Order vacated.    Remanded for further proceedings.        Jurisdiction

relinquished.



        Ransom, J. did not participate in the consideration or decision of this

case.

Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary

Date: 11/17/2016




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